Case 2:05-cr-20054-.]DB Document 54 Filed 06/24/05 Page 1 of 3 Page|D 63

IN THE UNITED sTATEs DISTRICT cOURT m """ JF»QZJW ~»

FOR THE WESTERN DISTRICT OF TENNEssEE E,“
wEsTERN DIVISION Q“»~*KW

 

UNITED S'I`A'I`ES OF AMERICA
Plaintiff,

Criminal No. (2§1- CBLL;/ Ml

(30-Day Continuance)

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Defendant(s).

 

CONSEN'I` ORDER ON CRIMINAL CASE CONTINUANCE
AN'D EXCLUSION OE` TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the

Speedy Trial Act. The case is currently set on the July, 2005,

criminal rotation calendar, but is now RESET for report at 9:00

a.m. on Fridav, JulV 22, 2005, with trial to take place on the
August, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through August 12, 2005. Agreed in open court at

report date this 24th day of June, 2005.

 

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with Ru\e 55 and/or 32{&)) FHCrP on

 

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Case 2:05-cr-20054-.]DB Document 54 Filed 06/24/05 Page 2 of 3 Page|D 64

so oRDERED this 24th day of June, 2005.

é / WQQQ

 

JON PI-IIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

 

 

 

 

 

Counsel for Defendant(s)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:05-CR-20054 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

